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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff/Respondent,
                                              Criminal No. 06-20234
 v.                                           Civil No. 14-13557

 AHMAD DANIELS,                               Hon. John Corbett O’Meara

      Defendant/Petitioner.
 _______________________________/

                    ORDER DENYING APPLICATION TO
                 PROCEED IN FORMA PAUPERIS ON APPEAL

       Before the court is Defendant/Petitioner Ahmad Daniels’s application to

 proceed in forma pauperis on appeal. The court denied Defendant’s motion to

 vacate sentence under 28 U.S.C. § 2255 on December 18, 2014, and also denied

 Defendant’s motion for a certificate of appealability on February 17, 2015.

       The court may grant in forma pauperis status if the court finds that an appeal

 is being taken in good faith. See Fed. R. App. P. 24 (a); Foster v. Ludwick, 208 F.

 Supp. 2d 750, 765 (E.D. Mich. 2002). Good faith requires a showing that the

 issues raised are not frivolous. Id.

       In his § 2255 motion, Defendant pursued an ineffective assistance of counsel

 claim, which the court denied. The court further found, in denying a certificate of

 appealability, that Defendant did not make a substantial showing of the denial of a
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 constitutional right. Although Defendant has not delineated the issues he seeks to

 pursue (see Fed. R. App. P. 24(a)), the court does not discern a non-frivolous basis

 for appeal.

       Accordingly, IT IS HEREBY ORDERED that Defendant’s application to

 proceed in forma pauperis on appeal is DENIED.



                                        s/John Corbett O’Meara
                                        United States District Judge
 Date: May 13, 2015


        I hereby certify that a copy of the foregoing document was served upon the
 parties of record on this date, May 13, 2015, using the ECF system and/or ordinary
 mail.


                                        s/William Barkholz
                                        Case Manager




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